IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RICHARD LAIRD : CIVIL ACTION
Vv. : NO. 23-3429
J. TERRA, et al.
QRDER

AND NOW, this 19" day of August 2024, upon reviewing the incarcerated Plaintiffs pro
se Motion to compel discovery (ECF No. 46), Defendants’ timely response (ECF No. 48)
confirming a narrowing of their specific objections and delivery of additional documents which
may have passed in the mail to the correctional facility, and mindful of mail delays to incarcerated
parties and of Defendants’ pending Motion for summary judgment (ECF No. 45) which Plaintiff
may answer by no later than August 28, 2024 under our April 15, 2024 Order (ECF No. 40), it is
ORDERED we:

1. DENY Plaintiff's Motion (ECF No. 46) as moot in reliance upon Defendant's
counsel’s fulsome description of their production; and,

2. AMEND our April 15, 2024 Order (ECF No. 40) only to grant the incarcerated

Plaintiff leave to respond to the pending Motion for summary judgment (ECF No. 45) by no later

than September 16, 2024. Ze

KBARNEY, J.

